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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

    WOODCREST ENTERPRISES, INC.,                    §
                                                    §
           Plaintiff,                               §
                                                    §
    vs.                                             §                CASE NO. 4:17-cv-00582
                                                    §
    LIBERTY MUTUAL INSURANCE                        §
    COMPANY and LIBERTY MUTUAL                      §
    FIRE INSURANCE COMPANY,                         §
                                                    §
           Defendants.                              §

              ORDER ON AGREED MOTION TO DISMISS WITH PREJUDICE

          Plaintiff Woodcrest Enterprises, Inc. (“Plaintiff”) and Defendants Liberty Mutual

    Insurance Company and Liberty Mutual Fire Insurance Company (“Defendants”; collectively,

    Plaintiff and Defendants are referred to herein as the “Parties”), through their undersigned counsel,

    have informed the Court that they have resolved all disputes between them in this action (the

    “Lawsuit”) and have requested that any and all claims and causes of action that have been asserted

    or could have been asserted by the Parties be dismissed with prejudice.

           IT IS THEREFORE ORDERED that any claims and causes of action asserted or could

    have been asserted in this Lawsuit by either Plaintiff or Defendant are hereby DISMISSED WITH

    PREJUDICE AGAINST REFILING THE SAME.


.          IT IS FURTHER ORDERED that all costs and attorney’s fees in this Lawsuit incurred by

    Plaintiff and Defendant are to be assessed against the party incurring the same.

            All relief not previously granted is hereby denied.

            The Clerk is directed to close this civil action.
             SIGNED this 27th day of March, 2018.




                                             ___________________________________
                                             AMOS L. MAZZANT
                                             UNITED STATES DISTRICT JUDGE
